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                                         Attorneys for Plaintiff,
                                    14 Christian Towner
                                    15
                                                               UNITED STATES DISTRICT COURT
                                    16                       SOUTHERN DISTRICT OF CALIFORNIA
                                    17
                                                                                    Case No.: 17-cv-595 W (KSC)
                                    18 CHRISTIAN TOWNER,
                                    19                       Plaintiff,             NOTICE OF SETTLEMENT
                                                                  v.
                                    20                                              HON. THOMAS J. WHELAN
                                    21 MIDLAND CREDIT
                                         MANAGEMENT, INC.,
                                    22
                                    23
                                                         Defendant.

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                                         Case No.: 17-cv-595 W (KSC)                       Towner v. Midland Credit Management, Inc.
                                                                          NOTICE OF SETTLEMENT
                                         Case 3:17-cv-00595-W-KSC Document 11 Filed 02/26/18 PageID.50 Page 2 of 2


                                                NOTICE IS HEREBY GIVEN that the dispute between Plaintiff
                                     1
                                         CHRISTIAN TOWNER (“Plaintiff”) and Defendant MIDLAND CREDIT
                                     2
                                         MANAGEMENT, INC. (“Defendant”) has been resolved in its entirety.                   The
                                     3
                                         Parties anticipate filing a Joint Stipulation to Dismiss this Action with Prejudice
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                                         within sixty days. Plaintiff requests that all pending dates and filing requirements
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                                         be vacated and that the Court set a deadline on or after April 26, 2018 for filing a
                                     6
                                         Joint Dismissal.
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                                     8
                                         Date: February 26, 2018                            KAZEROUNI LAW GROUP, APC
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                                                                                           By: _/s Matthew M. Loker_____
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                                         Case No.: 17-cv-595 W (KSC)            1 OF 1        Towner v. Midland Credit Management
                                                                       NOTICE OF SETTLEMENT
